      Case 1:22-cv-01037-CMA-NRN Document 5 Filed 04/29/22 USDC Colorado Page 1 of 1

AO 121 (Rev. 06/16)
TO:

                  Register of Copyrights                                                               REPORT ON THE
                   U.S. Copyright Office                                                       FILING OR DETERMINATION OF AN
                101 Independence Ave. S.E.                                                            ACTION OR APPEAL
                Washington, D.C. 20559-6000                                                        REGARDING A COPYRIGHT



     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                         COURT NAME AND LOCATION
        G
        ✔ ACTION               G APPEAL                                  District of Colorado
DOCKET NO.                          DATE FILED
22-cv-01037-LTB                               04/29/2022
PLAINTIFF                                                                             DEFENDANT
Eric Pickersgill                                                                      The Egotist, LLC dba The Denver Egotist




       COPYRIGHT
                                                                TITLE OF WORK                                              AUTHOR OR WORK
    REGISTRATION NO.

1 VAu 1-258-364                     Scooter Double Up                                                           Eric Pickersgill

2 VAu 1-258-364                     Grant_Eric_Pickersgill_Removed

3 VAu 1-258-364                     Tanya_and_Addi_Eric_Pickersgill_Removed

4 VAu 1-258-364                     Ex Couple

5 VAu 1-258-364                     Michelle_and_Jimmy_Eric_Pickersgill_Removed


      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                       INCLUDED BY
                                             G Amendment                 G Answer               G Cross Bill           G Other Pleading
       COPYRIGHT
                                                                TITLE OF WORK                                              AUTHOR OF WORK
    REGISTRATION NO.

1

2

3                                                                         .


    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                    WRITTEN OPINION ATTACHED                                     DATE RENDERED

            G Order            G Judgment                                     G Yes        G No

CLERK                                                            (BY) DEPUTY CLERK                                            DATE



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                      4) In the event of an appeal, forward copy to Appellate Court               5) Case File Copy
